Case: 5:20-cr-00047-DCR Doc #:17-4 Filed: 09/15/20 Page: 1 of 2 - Page ID#: 61

EXHIBIT 4

Case: 5:20-cr-00047-DCR Doc #:17-4 Filed: 09/15/20 Page: 2 of 2 - Page ID#: 62

Honorable Danny Reeves

Dear Judge Reeves,

By way of introduction, | am recently retired after a career in industry and banking and
currently reside in Henderson, KY. I continue, however, to serve as President and CEO of The
Center For Addiction Recovery, which initiated the first recovery center in the state as part of
Governor Fletcher’s Recovery Kentucky program. My committed avocation, however, since the
advent of my recovery from alcoholism in 1987, has been to perform volunteer interventions
with individuals who suffer from my disorder. This work has continued over the years, involving
my interaction with people from practically all walks of life.

Accordingly, I was asked in January of 2018 by a mutual friend to provide such service to
Dr. Theo Gerstle. I met with Dr. Gerstle in his home and outlined the options available for him to
receive the therapy necessary in order for him to learn in the best way possible the source of his
disease as well as the method by which he could sustain sobriety for the balance of his life. Dr.
Gerstle followed the suggestions and agreed to treatment at the Caron Treatment Center in
Wernersville, PA. He was without the necessary financial means at the time, and I was able to
provide a scholarship to him which covered the entire cost of his treatment. During his time
there, I was in constant contact with Caron’s professional staff, thereby tracking his program
work. His commitment to therapeutic success there was rated as exemplary by their professional
staff. Additionally, one’s engagement in aftercare is essential to long-term recovery success, and
Dr. Gerstle has participated with full commitment and continuity in such endeavors, earning a
high level of respect in the recovery community.

Unfortunately, with the dramatic increase in chemical addiction, there are simply not
enough recovering individuals with the capacity and willingness to provide value propositions
through interventions and peer-to-peer counseling to meet current needs in our communities, Of
all the people with whom I have engaged over the decades of my involvement, Theo Gerstle is
one of the few who has not only the capacity, but additionally the willingness and desire to
actively participate in such work. We indeed need his volunteer service in that critical area of our
work. I do not in any way, your honor, minimize this person’s legal misdeed. I do, however,
humbly request of you to consider that society will be decidedly better served if Dr. Gerstle is
allowed to continue to assist us in our critical work, and thereby grant him probation rather than
incarceration.

I will be pleased to provide additional information upon your request.

Respectfully,
Dale Sights

